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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
     Dennis Hicks
          Petitioner

                                               Civil Action No.:
     V                                                             ---------
                                               Crim Action No.: 07-CR-83-1

     United States of America
          Respondent

                          MJTION FOR "STATUS UPDATE" PURSUANT
                          TO FRAP RULE 1, RULE 3, RULE 4 AND
                               RULE 5; PERTAINING TO 1HE
                            DEIAYED FILING OF PETITIONER'S
                            RECENT FILING FOR i'ODIFICATION
                            OF SENTENCE UNDER 18 USC §3582
          NOW COMES Dennis Hicks (Petitioner), prose, and moves this Honorable
     Court to Grant Petitioner a Status Update on why his filing has not been filed
     (and docketed) with the Court, pursuant to FRAP Rules and states the following:
          1) Petitioner filed a Motion for Modification of Sentence pursuant to
     18 USC §3582 in light of new case precedent in favor of Petitioner;

          2) Such a Motion was received and signed for on 9-23-19- (See Attachment
     #1 - Copy of the signed receipt by the Court Clerk);

          3) As of this filing/request for a Status Update, it is now thirty (30)
     days and counting and Petitioner has not received notice of the actual filing;
     nor a Civil Action Number per the FRAP;

          4) Pursuant to FRAP Rule 5 (Serving and Filing pleadings and other papers);
     the Rule states:
               -5(b)(2)(F); delivering service by any other means that the person
               consented to in writing - in which event service is complete when
               the person making service delivers it to the Agency (clerk) to make
               delivery;
               and
               -5(d)(4)(Acceptance by Clerk) says, the clerk must not refuse to
               file a paper solely because it is not in the form prescribed by
               these rules or by a local rule or practice;

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       5) Pursuant to FRAP Rule 3 (coomencing an action) and Rule 4 (sumnons);
the Rule states:
              -R(3) a civil action is coomenced by filing a complaint with the
              court;

              -unless Rule 3 and Rule 4(A) are read together •.. substantive rights
               of a persons may be seriously affected without their knowledge
               that complaint has been filed in the Office of Clerk (Yudin v.
               Carrol), 57 F.Supp.793 (D.Ark.1944)
         6) Pursuant to FRAP Rule 1 (Scope and Purpose); the Rule states;

               These rules govern the procedure in all civil actions and proceedings
               in the United States district courts, except as stated in Rule
               81. They should be construed, administered, and employed by the
               court and the parties to secure the just, speedy, and inexpensive
               determination of every action and proceeding.

       7) By way of the above mentioned FRAP, Petitioner has met the correct
form and filing with the Court, and requests the Court to proceed pursuant to
Rule 1 and Rule 4; in which the Court must file, then issue a Show Cause order
to the Respondent to begin the appellattproceedings and briefings;


       WHEREFORE, Petitioner Dennis Hicks humbly requests that the Court Grant
this Motion and advise why there is a delay in having his 18 USC §3582 Motion
filed and docketed appropriately; and next, issue a FRAP Show Cause Order to
the Respondents thus beginning the Briefing Process and for such other and further
relief deemed proper and necessary in the Interest of Justice.



Dated:   _io_"--"'0""""'C
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                                                    Dennis Hicks, prose
                                                    Fed. No. 62108-066
                                                    I.SCI Allenwood LOW
                                                    PO Box 1000
                                                    White Deer PA 17887


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             Case 2:07-cr-00083-JS Document 79 Filed 10/30/19 Page 3 of 5



                                       AFFIDAVIT
        I Hereby Certify that the foregoing facts are true and correct to the
best of my knowledge and belief under penalty of perjury as per 28 USC Section
1746.




                               CERTIFICATE OF SERVICE
        I Hereby Certify that a copy of the foregoing Petition/Motion was mailed
on this     z.8   day of   OC...-"TO~Q.. , 2019, by First Class Mail, postage
prepaid to:


              AUSUA
              Office of the US Attorney
              Melanie B. Wilmoth
              615 Chestnut Street

              Suite 1250

              Philadelphia, PA 19106




                                             Dennis Hicks,   prose
Case 2:07-cr-00083-JS Document 79 Filed 10/30/19 Page 4 of 5




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                                                                                 Attachnent #1
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